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 7   **Designated Attorney for Personal Service**
 8   Kurt Bonds, Esq.
     Nevada Bar No.: 6228
 9   6605 Grand Montecito Parkway, Suite 200
     Las Vegas, Nevada 89149
10
                             IN THE UNITED STATES DISTRICT COURT
11

12                                  FOR THE DISTRICT OF NEVADA

13   EMMA PATRICIO,                                      Case No. 2:21-cv-01868-JAD-EJY
14                          Plaintiff,                   JOINT MOTION AND ORDER
                                                         EXTENDING DEFENDANT TRANS
15   v.                                                  UNION LLC’S TIME TO FILE AN
16                                                       ANSWER OR OTHERWISE RESPOND
     EXPERIAN INFORMATION SOLUTIONS,                     TO PLAINTIFF’S COMPLAINT
17   INC., EQUIFAX INFORMATION SERVICES
     LLC, TRANS UNION LLC, and DISCOVER                  (FIRST REQUEST)
18   BANK,

19                           Defendants.
20
            Plaintiff Emma Patricio (“Plaintiff”) and Defendant Trans Union LLC (“Trans Union”), by
21
     and through their respective counsel, file this Joint Motion Extending Defendant Trans Union’s
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     Time to File an Answer or Otherwise Respond to Plaintiff’s Complaint.
23
            1.      On October 8, 2021, Plaintiff filed her Complaint. The current deadline for Trans
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     Union to answer or otherwise respond to Plaintiff’s Complaint is November 5, 2021.
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            2.       On November 5, 2021, counsel for Trans Union communicated with Plaintiff’s
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     counsel via email regarding an extension within which to file a response to the Complaint, and
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     Plaintiff’s counsel agreed to the extension.
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            Case 2:21-cv-01868-JAD-EJY Document 16 Filed 11/05/21 Page 2 of 3



 1          3.      The parties will actively discuss a potential early resolution of this case, and the

 2   parties believe an extension of this nature may save waste of the parties’ time and expense. The

 3   additional time will allow Plaintiff and Trans Union time to fully explore such early settlement

 4   discussions.

 5          4.      Moreover, Trans Union’s counsel will need additional time to review the

 6   documents and respond to the allegations in Plaintiff’s Complaint. This Joint Motion is made in

 7   good faith and not for the purposes of delay.

 8          5.      Plaintiff has agreed to extend the deadline in which Trans Union has to answer or

 9   otherwise respond to Plaintiff’s Complaint up to and including December 6, 2021. This is the first

10   motion for extension of time for Trans Union to respond to Plaintiff’s Complaint.

11
     Dated this 5th day of November 2021.
12
                                                     QUILLING SELANDER LOWNDS
13
                                                     WINSLETT & MOSER, P.C.
14
                                                     /s/ Jennifer Bergh
15                                                   Jennifer Bergh
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20
                                                     KIND LAW AND FREEDOM LAW FIRM
21

22
                                                     /s/ Gerardo Avalos
23                                                   Michael Kind
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                                                     8860 S Maryland Parkway, Suite 106
25                                                   Las Vegas, NV 89123
                                                     (702) 337-2322
26                                                   (702) 329-5880 Fax
27                                                   and
                                                     George Haines
28                                                   ghaines@freedomlegalteam.com
                                                     Gerardo Avalos
                                                                                                      2
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            Case 2:21-cv-01868-JAD-EJY Document 16 Filed 11/05/21 Page 3 of 3



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 2                                       Las Vegas, NV 89123
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 3                                       (702) 385-5518 Fax
                                         Counsel for Plaintiff
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 7                                   IT IS SO ORDERED.

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 9                                   ____________________________________
10                                   UNITED STATES MAGISTRATE JUDGE

11                                   Dated: November 5, 2021

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